                                                                                             FILED
                                                                                        CHARLOTTE, NC
                       IN THE LTNITED STATES DISTRICT COURT
                  FoR THE WESTERN DISTRICT oF NORTH CAROLINA                             AUG 2 O 2015
                                    STATESVILLE DIVISION                             US DiSTRICT coURT
                                                                               WESTERN DISttRiCT oF NC
LINITED STATES OF AMERICA                                     CRIMINAL NO.:5:15cr38¨ RLV

       V.                                                     CONSENT ORDER AND
                                                             JUDGⅣ IENT OF FORFEITU皿
(2)CHANG CHENG VANG                                          PENDING RULE 32.2(c)(2)

        BASED UPON the Defbndant's plea of guilty and tinding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property. IT IS HEREBY ORDERED THAT:

        1.     The following property is tbrfeited to the United States pursuant to 21 U.S.C. $
853, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

       One Beretta 84 handgun, serial number E2l784Y and ammunition;

       One Glock 27 handgun, serial number MTV031 and ammunition;

       Approximately $1,700 in United States currencv;

       One Apple iPhone;

       One LGTV, serial number 008RMTT2K225;

       One Sentry safe;

       One set of digital scalesl and

       One 2006 Jeep Wrangler (Rubicon) VIN# 1J4FA69S96P717294 all seized during the
       investigation on M.ay 27,2015.

        2. The United States Marshals Service, the investigative agency. and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3. If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. g 853(n),
and/or other applicable law. the United States shall publish notice and provide direct written
notice of forfeiture.

        4. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.




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        5.      Pursuant to Fed. R. Crim. P.32.2(b)(3). upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identifu, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P.45.

        6.      As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfbiture shall be entered. lf no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

       The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of Defendant's crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore subject to forfbiture
pursuant to 21 U.S.C. $ 853. The Defendant hereby waives the requirements of Fed. R. Crim. P.
32.2 and 43(a) regarding notice of the fbrfeiture in the charging instrument, announcement of the
forfeiture at sentencing. and incorporation of the forfeiture in the judgment against Defendant. If
the Defendant has previously submitted a claim in response to an administrative fbrfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim, Defendant hereby waives all right to do so. As to any
firearms listed above and/or in the charging instrument. Defendant consents to destruction by
fbderal, state, or local law enfbrcement authorities upon such legal process as they, in their sole
discretion deem to legally sufticient, and waives any and all right to further notice of such
process or such destruction.

JILL WESTMORELAND ROSE
ACTING LTNITED STATES ATTORNEY



STEVEN R. KAUFMAN                                       CHANG CHENG VANG
Assistant United States Attomey                         Defendant




                                                        ROB HEROY, ESQ.
                                                        Attorney fbr Defendant

Signed this the 20til day ofAugust 2015.




                                                            BLD Dズ VID C.KEESLER
                                                UNITED STATES MAGISTRATE JUDGE



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